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 1 JENNIFER L. COON
   California State Bar No. 203913
 2 FEDERAL DEFENDERS OF SAN DIEGO, INC.
   225 Broadway, Suite 900
 3 San Diego, California 92101
   Telephone: (619) 234-8467
 4 Email: jennifer_coon@fd.org

 5 Attorneys for Mr. Reyes

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 8                                   UNITED STATES DISTRICT COURT
 9                                 SOUTHERN DISTRICT OF CALIFORNIA
10                                  (HONORABLE DANA M. SABRAW)
11 UNITED STATES OF AMERICA,                     )     Case No. 06CR1023-DMS
                                                 )
12                 Plaintiff,                    )     JOINT MOTION FOR CONTINUANCE OF
                                                 )     SUPERVISED RELEASE REVOCATION
13 v.                                            )     HEARING
                                                 )
14 JAVIER ASTORGA REYES,                         )
                                                 )
15                 Defendant.                    )
16

17                 IT IS HEREBY JOINTLY MOVED by the parties that the supervised release revocation
18 hearing currently scheduled for October 14, 2010, at 9:30 a.m., be continued to November 5, 2010, at 10:00

19 a.m., before the Honorable Dana M. Sabraw, in order to allow defense counsel additional time to prepare for

20 the hearing.

21                                                   Respectfully submitted,
22 DATED: October 13, 2010                            /s/ JENNIFER L. COON
                                                     Federal Defenders of San Diego, Inc.
23                                                   Attorneys for Defendant Reyes
                                                     jennifer_coon@fd.org
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25 DATED: October 13, 2010                           /s/ CAROLINE P. HAN
                                                     Assistant United States Attorney
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 1                                      CERTIFICATE OF SERVICE
 2                Counsel for Defendant certifies that the foregoing pleading is true and accurate to the best
 3 information and belief, and that a copy of the foregoing document has been caused to be delivered this day

 4 upon:

 5                Courtesy Copy Chambers
 6                Copy Assistant U.S. Attorney via ECF Notice of Electronic Filing
 7                Copy Defendant
 8 Dated: October 13, 2010                                /s/ JENNIFER L. COON
                                                         Federal Defenders of San Diego, Inc.
 9                                                       225 Broadway, Suite 900
                                                         San Diego, CA 92101-5030
10                                                       (619) 234-8467 (tel)
                                                         (619) 687-2666 (fax)
11                                                       jennifer_coon@fd.org (email)
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